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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                 §
                                         §
      v.                                 §
                                         §
EDWARD CONSTANTINESCU,                   §
PERRY “PJ” MATLOCK,                      §
JOHN RYBARCZYK,                          §     CRIMINAL NO. 4:22-CR-612
GARY DEEL,                               §
STEFAN HRVATIN,                          §
TOM COOPERMAN,                           §
MITCHELL HENNESSEY, and                  §
DANIEL KNIGHT                            §

                              NOTICE OF APPEAL

      Under the authority of 18 U.S.C. § 3731, the United States of America appeals

to the United States Court of Appeals for the Fifth Circuit from the district court’s

order, entered March 20, 2024, which dismissed the superseding indictment.


                                               Respectfully submitted,

      GLENN S. LEON, CHIEF                     ALAMDAR S. HAMDANI
      FRAUD SECTION                            UNITED STATES ATTORNEY
      Criminal Division                        Southern District of Texas
      U.S. Department of Justice

      s/ Scott Armstrong                       s/ Anna E. Kalluri
      SCOTT ARMSTRONG                          ANNA E. KALLURI
      ASSISTANT CHIEF
                                               THOMAS H. CARTER, III
      JOHN J. LIOLOS                           ASSISTANT U.S. ATTORNEYS
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                          CERTIFICATE OF SERVICE

      I hereby certify that, on April 4, 2024, I electronically filed the foregoing
Notice of Appeal with the Clerk of the Court using the ECF/CM system for filing
and service on all counsel of record.

                                              s/ Anna E. Kalluri
                                              ANNA E. KALLURI
                                              ASSISTANT U.S. ATTORNEY
                                              SOUTHERN DISTRICT OF TEXAS
